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 5                          UNITED STATES DISTRICT COURT
 6                        FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                         No. CR-13-114-FVS-3

 9                       Plaintiff,                  ORDER ON PLEA
10
     vs.                                             ECF NO. 49 – MOTION DENIED
11
12 MICHAEL NORRIS,
13
                         Defendant.
14
15         At Defendant’s July 24, 2013 arraignment, The Defendant entered pleas of
16   not guilty to all counts.
17         IT IS ORDERED that the pleas of Defendant are received, and the
18   Defendant is bound over for trial before a district judge.
19         The motion to modify (ECF No 49) is DENIED, except to correct the
20   statement that Defendant lives in Denver.            His residence shall be Arvada,
21   Colorado.
22
23         DATED July 24, 2013.

24
25                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
